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 4
     Attorney for Defendant: JAMEL GILL
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 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                     )         Crim. S 07-126 EJG
11                                                 )
                                      Plaintiff,   )
12                                                 )    STIPULATION AND ORDER
                          v.                       )          THEREON
13                                                 )        AS MODIFIED*
                                                   )
14   JAMEL GILL,                                    )   (Continuing Case to 1/16*/09)
                                                   )
15                               Defendant,        )
                                                   )
16
           It is hereby stipulated between counsel for the government and the defendants that
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     the status conference presently scheduled for January 9, 2009 may be continued to
18
     January 16*, 2009at 10;00 a.m. This matter has been resolved and is ready for change
19
     of plea as to Jamel Gill and dismissal as to Javon Gill..
20
           It is further stipulated that the time between January 9, 2009 and January 16*,
21
     2009 can appropriately be excluded from the Speedy Trial Act pursuant to 18 USC § 18
22
     USC § 3161(h)(8)(B)(iv) (Local Code T-4).
23
     Dated: January 8, 2009                               Dated: January 8, 2009
24
     / s / Jill Thomas                                    / s / Steven D. Bauer
25
     JILL THOMAS                                          STEVEN D. BAUER
26   Assistant United States Attorney                     Attorney for Defendant
27
     (Additional Signatures and Order on Following Page)
28
       Case 2:07-cr-00126-WBS Document 85 Filed 01/09/09 Page 2 of 2


 1
     Dated: January 8, 2009
 2
     / s / Shari Rusk
 3
     SHARI RUSK
 4   Attorney for Defendant
 5   For Good Cause Appearing
     IT IS SO ORDERED
 6   Dated: January , 2009
 7
 8   /s/ Edward J. Garcia
     EDWARD J. GARCIA
 9   U. S. District Judge
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